                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


CLIFFS MINING COMPANY,
           Plaintiff,

       v.                                                 Case No. 21-cv-968

EAST GREENFIELD INVESTORS, LLC,
and LAWRENCE FROMELIUS.
           Defendant.
______________________________________________________________________

                                  DECISION AND ORDER

       Plaintiff Cliffs Mining Company (“Cliffs”) brings this diversity action for declaratory

relief against defendants East Greenfield Investors, LLC (“EGI”) and Lawrence Fromelius,

the sole member of EGI, pursuant to 28 U.S.C. § 2201. Cliffs seeks a declaration that it

did not violate an escrow agreement and that defendants may not commence arbitration.

Defendants now move to dismiss the action and compel arbitration.

                                     I. BACKGROUND

       As relevant here, the parties entered into an escrow agreement under which Cliffs

and EGI each contributed funds to an escrow account. The agreement allowed Cliffs to

withdraw funds for specific purposes. Cliffs withdrew the funds in order to settle litigation

with a third party, and EGI alleges this withdrawal violated the agreement. EGI then filed

for arbitration and Cliffs filed this action for declaratory judgment.

       The escrow agreement contains an arbitration clause which provides that

“[a]rbitration shall be the sole remedy of EGI hereunder.” ECF no. 1-2 at p. 11. It goes

on to state that any “arbitration award shall determine only whether the expenditure in

question is consistent with [the escrow agreement].” Id. Finally, the arbitration clause




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states that any arbitrations “shall be administered by JAMS pursuant to its Streamlined

Arbitration Rules and Procedures.” Id.1

                                     II. DISCUSSION

       Defendants argue that plaintiff’s claims should properly be decided by an arbitrator.

Cliffs argues that questions of arbitrability are properly decided by a court. Ordinarily,

“[w]hether or not [a] company [is] bound to arbitrate, as well as what issues it must

arbitrate, is a matter to be determined by the court on the basis of the contract entered

into by the parties.” Zurich Am. Ins. Co. v. Watts Indus, 466 F.3d 577, 580-581 (7th Cir.

2006) (quoting AT&T Tech., Inc. v. Commc’ns Workers of Am., 475 U.S. 643 (1986).

However, the parties to a contract may agree to delegate the initial matter of arbitrability

to the arbitrator. AT&T Tech., 475 U.S. at 649. Defendants argue that the parties have

done so here, and I agree.

       The arbitration clause includes an agreement by the parties to conduct any

arbitration pursuant to the JAMS Steamlined Arbitration Rules and Procedures. By

agreeing to conduct the arbitration according to the JAMS rules, the parties have

incorporated those rules into the arbitration agreement. See Preston v. Ferrer, 552 U.S.

346, 362 (2008); See also, C & L Enters., Inc. v. Citizen Band Potawatomi Indian Tribe of

Okla., 532 U.S. 411, 419 n. 1 (2001). The JAMS rules state:

              Jurisdictional and arbitrability disputes, including disputes over the
              formation, existence, validity, interpretation or scope of the agreement
              under which Arbitration is sought, and who are proper Parties to the
              Arbitration, shall be submitted to and ruled on by the Arbitrator. The



1 JAMS, formerly known as Judicial Arbitration and Mediation Services, is a provider of
alternative dispute resolution services.
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              Arbitrator has the authority to determine jurisdiction and arbitrability issues
              as a preliminary matter.


JAMS SARP 8(b). In other words, the JAMS rules require that disputes regarding

arbitrability be ruled on by the arbitrator. By agreeing to the JAMs rules, the parties also

agreed that the issue of whether EGI’s claims belong in arbitration would be decided by

an arbitrator. See Wal-Mart Stores, Inc. v. Helferich Patent Licensing, LLC, 51 F.Supp.3d

713, 719-20 (N.D. Ill. 2014) (collecting cases). When the parties agree to arbitrate

questions of arbitrability, I may not decide those issues even if it appears that the

argument for arbitration is “wholly groundless.” Henry Schein, Inc. v. Archer and White

Sales, Inc., 139 S.Ct. 524, 530 (2019).

       Cliffs argues it is not bound by the arbitration agreement because the agreement

binds only EGI. It also argues that EGI may not properly commence arbitration because

it declared bankruptcy and because EGI waived its right to do so. But these arguments

address the meaning and scope of the arbitration clause which, by incorporating the

JAMS rules, the parties agreed to arbitrate.

       Cliffs argues alternatively that I should require defendants to post a bond prior to

arbitration but points to no authority in support of its request. Moreover, the JAMs rules

require periodic deposits of fees and expenses.

                                    III. CONCLUSION

       For the reasons stated, IT IS ORDERED that defendants’ motion to compel

arbitration and dismiss the action at ECF no. 12 is GRANTED IN PART. The motion is

granted to the extent that the parties are ordered to submit their dispute to arbitration in



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accordance with the terms of the escrow agreement. The motion is denied to the extent

that it requests that this action be dismissed.

       IT IS FURTHER ORDERED that this action is STAYED pending the resolution of

the arbitration.

       IT IS FURTHER ORDERED that defendants’ motion for extension of time at ECF

no. 15 is GRANTED.

       FINALLY, IT IS ORDERED that the Clerk of Court shall close this matter for

administrative purposes only.

       Dated at Milwaukee, Wisconsin, this 15th day of September, 2022



                                                  /s/Lynn Adelman______________
                                                  LYNN ADELMAN
                                                  United States District Judge




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